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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 UNITED STATES OF AMERICA,

                        Plaintiff,

        v.
                                                  Case No. 1:21-cr-00582 (CRC)
 MICHAEL A. SUSSMANN,

                        Defendant,



                        DECLARATION OF SHAWN G. CROWLEY

I, SHAWN G. CROWLEY, hereby declare:

1.     My name, office address, and telephone number are as follows:

       Shawn G. Crowley

       350 Fifth Avenue, 63rd Floor

       New York, New York 10118

       (212) 763-0883

2.     I have been admitted to the following bar: the State of New York.

3.     I am currently in good standing with all bars in which I am admitted.

4.     I have not been admitted pro hac vice in this Court in the past two years.

5.     I do not engage in the practice of law from an office in the District of Columbia, nor am I

       a member of the D.C. bar or have a pending application for membership.

I declare under penalty of perjury that the foregoing is true and correct. Executed in New York,

New York, this 18th day of April, 2022.
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Dated: New York, New York                Respectfully submitted,
       April 18, 2022

                                         __________________________________
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                                         Committee




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